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Case 1:20-cr-00029-JPO Document 54 Filed 01/11/21 Page 2 of 3




            The United States Marshals Service is directed to promptly send a
         copy of the judgment in this case to the BOP via the "e-designate"
         system, if it has not already done so.
           So ordered: 1/11/2021
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ChrisNef

From:                                       Nicole McFarland <nmcfarland@bop.gov>
Sent:                                       Wednesday, November 18, 2020 9:46 AM
To:                                         Avraham C. Moskowitz
Subject:                                    Re: carlos alberto ramirez



           Hi Avraham-

           A quick look does not show that we received this J&C. The Marshals need to send it via e-designate to our computation
           center. I have forwarded it as a courtesy, but they need to get the official copy from the Marshals.

           Nicole

           >>> "Avraham C. Moskowitz" <AMoskowitz@mb-llp.com> 11/18/2020 9:40 AM >>>
           Nicole,
           I am writing to you on behalf of my client, carlos alberto Ramirez, inmate #87592-054. Mr. Ramirez was
           arrested and incarcerated on December 15 2019 on drug charges. He pled guilty and on 10/20/20 was
           sentenced to 18 months incarceration by judge oetken in sdny. A copy of his judgment is attached. Since his
           sentencing, Mr. Ramirez has been trying to learn what his release date is and whether he can be released to
           a halfway house or to home confinement, but neither his counselor nor case manager has provided him with
           any information. Can you please let me know how he and I can learn his scheduled release date and what, if
           anything he can do to qualify to release to a halfway house or to home confinement? Given the amount of
           time that he has earned in good time, he should be eligible for release to a halfway house or home
           confinement in the near future. Thanks in advance for ay help that you can provide.

           Avraham C. Moskowitz
           Moskowitz & Book, LLP
           345 Seventh Avenue
           21st Floor
           New York, N.Y. 10001
           (212) 221-7999 ext 1628
           (347) 262-9875 (cell)




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